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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
                                    www.flmb.uscourts.gov
In re:

Pelican Real Estate, LLC, et al.                         Case No.: 6:16-bk-03817-CCJ

         Debtors.                                        Jointly Administered with:
                                                         Case No.: 6:16-bk-03820;
                                                         Case No.: 6:16-bk-03822;
                                                         Case No.: 6:16-bk-03823;
                                                         Case No.: 6:16-bk-03825;
                                                         Case No.: 6:16-bk-03827;
                                                         Case No.: 6:16-bk-03828;
                                                         Case No.: 6:16-bk-03829; and
                                                         Case No.: 6:16-bk-03830
                                        /

     LIQUIDATING TRUSTEE'S OMNIBUS MOTION TO APPROVE REJECTION OF
    CERTAIN JOINT VENTURE AGREEMENTS WITH INVESTORS, ASSUMPTION OF
    CERTAIN CONTRACTS, AND TO EXTEND DEADLINES TO ASSUME OR REJECT

         Parties to a contract with a Debtor receiving this motion should locate their names
         and their contracts listed in this motion and the attached exhibits. Paragraphs 8
         and 9 below list the categories of contracts to be rejected or assumed, and
         counterparties to contracts within these categories will find their names listed
         within the paragraphs or the attached referenced exhibits.

         Maria M. Yip, Liquidating Trustee of the Smart Money Liquidating Trust (the

“Liquidating Trustee”), pursuant to 11 U.S.C. § 365(a), Bankruptcy Rule 6006, Section 4.01(xii)

of the Liquidating Trust Agreement (ECF No. 449), and the Order Authorizing Liquidating

Trustee to File Omnibus Motions to Approve Assumption (or Assumption and Assignment) of

Executory Contracts and Leases (ECF No. 698)1 files this Omnibus Motion to Approve Rejection




1
  This Order authorized the Liquidating Trustee to seek authority to assume or assign multiple executory
contracts or unexpired leases in one or more omnibus motions. The Liquidating Trustee by this motion
seeks a clarifying decretal authorizing her to seek to assume or reject more than 100 executory contracts.
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of Certain Joint Venture Agreements with Investors, Assumption of Certain Contracts, and to

Extend Deadlines to Assume or Reject2, and states:

                                               Overview

          1.      The Liquidating Trustee by this motion seeks to (a) reject certain of the joint

venture agreements that the Debtors entered into with investors with respect to websites and with

respect to Turnkey WBCT #3, (b) assume certain contracts that have not been resolved by its

previous motions3 relating to various prior contractual relationships of the Debtors with third

parties, and (c) extend the deadlines to assume or reject (i) certain agreements with third parties

Energy Capital Wilcox, J.V. and Today’s Growth Consultants (by consent), and (ii) any and all

other executory contracts and leases, including the joint ventures Turnkey Mississippian #2 and

Turnkey Prue #1 JV.

          2.      The decision to reject a contract relieves an estate of a debtor’s remaining

obligations under the contract.4 The decision to assume a contract or lease allows the contract or

lease to continue to operate so that the counterparty continues to perform under the contract or

lease.5


2
 The Liquidating Trustee does not by this motion admit that the agreements sought to be rejected or
assumed are executory in nature.
3
  The Liquidating Trustee previously filed her Omnibus Motion to Approve Assumption (and in Some
Instances Also Assignment) of Certain Executory Contracts and Leases (the “Omnibus Motion”) (ECF No.
703) on January 22, 2018, which was granted by the Court by virtue of its Order Granting Liquidating
Trustee’s Omnibus Motion to Approve Assumption (and in Some Instances also Assignment) of Certain
Executory Contracts and Leases (ECF No. 749) entered on March 13, 2018. The Liquidating Trustee has
also filed various other discrete motions to assume various executory contracts and leases which have been
granted by the court.
4
 3 Collier on Bankruptcy ¶ 365.03[1] (15th ed. Rev.) citing Treister, et al., Fundamentals of Bankruptcy
Law, § 5.04(f), at 249 (5th ed. 2004, Richard Levin ed.).
5
 See In re Washington Capital Aviation & Leasing, 156 B.R. 167, 173 (Bankr. E.D. Va. 1993); In re Drexel
Burnham Lambert Group, Inc., 138 B.R. 687, 706 (Bankr. S.D.N.Y. 1992); In re Allen, 135 B.R. 856, 864
(Bankr. N.D. Iowa 1992) (assuming a contract under § 365 only allows the debtor to carry on with the

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        3.       None of the contracts that the Liquidating Trustee is seeking to assume are in

default by the Debtors or the Liquidating Trustee.

                                               Background

        4.       On June 8, 2016, the Debtors6 filed voluntary petitions for relief under Chapter 11

of the Bankruptcy Code. The Debtors are jointly administered (ECF No. 25), and on December

28, 2016, were substantively consolidated nunc pro tunc to the petition date (ECF No. 303). On

February 15, 2017, the Court entered an order (the “Confirmation Order”) (ECF No. 414)

confirming the Debtors’ Second Amended Plan of Liquidation (ECF No. 400) (the "Plan"). On

March 21, 2017, in accordance with paragraph 19 of the Confirmation Order, each of the Debtors'

cases were closed, except for the lead case Pelican Real Estate LLC, Case No. 6:16-bk-03817-

RAC, which remains open.

         5.      On the Effective Date of March 2, 2017 (ECF No. 428), the Smart Money

Liquidating Trust (the "Liquidating Trust") came into existence, and the Liquidating Trust Assets7




contract according to its terms); In re LeRoux, 167 B.R. 318 (Bankr. D. Mass. 1994), aff'd, 1995 WL 447800
(D. Mass. Oct. 20, 1995), aff'd sub nom. Summit Inv. and Dev. Corp. v. LeRoux, 69 F.3d 608 (1st Cir. 1995)
(statute and contract clause which otherwise would convert a general partner's interest into a limited
partnership interest upon the filing of a bankruptcy petition unenforceable); Jay Westbrook, A Functional
Analysis of Executory Contracts, 74 Minn. L. Rev. 227, 231 (1989) ("'Assume' and 'reject' are merely
bankruptcy terms for the decision to perform or to breach, an election open to any party to a contract outside
of bankruptcy."); Michael T. Andrew, Executory Contracts in Bankruptcy: Understanding "Rejection", 59
Colo. L. Rev. 845, 847 (1988) ("Assumption permits the estate to obtain the benefits of continued
performance by the nondebtor party to the contract, as would assumption by an ordinary contract
assignee.").
6
 The Debtors (with the last four digits of their taxpayer identification numbers) are: (i) Pelican Real Estate,
LLC (6190); (ii) Pelican Portfolios, LLC (2896); (iii) Pelican Management, LLC (3093); (iv) Smart Money
Secured Income Fund, LLC (0664); (v) Smart Money Secured Income Fund Manager, LLC (2762); (vi)
Turnkey Investment Fund, LLC (9311); (vii) Turnkey Investment Fund Manager, LLC (1580); (viii)
Accelerated Asset Group, LLC (6166); and (ix) SMFG, Inc. (9753).
7
 Defined in Paragraph 1.39 of the Plan as "all Property of the Estate, less the Smart Money Insurance
Assets." The Smart Money Insurance Assets are not related to this motion.


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transferred to the Liquidating Trust. See Plan, Pars. 1.40-1.42 and 6.3. The Liquidating Trust is

governed by the Liquidating Trust Agreement (ECF No. 449) and Maria M. Yip is the Liquidating

Trustee. Id. The Liquidating Trust Agreement provides that the Liquidating Trustee shall

exercise all powers vested in Debtors pursuant to the Bankruptcy Code as may be necessary to

carry out the provisions of the Plan. See Section 4.01 (xii) of the Liquidating Trust Agreement.

           6.      With exception8, the deadline for the Liquidating Trustee to assume or reject all

executory contracts and unexpired leases has been extended by paragraphs 8.1 and 8.2 of the Plan,

the Confirmation Order, and by Court Orders (ECF No. 495, 572, 661, and 729) through April

30, 2018.

                                              Relief Sought

           7.      The Liquidating Trustee has been working diligently to assess and liquidate the

Liquidating Trust Assets9, has made decisions concerning a number of contracts, and desires to

take the following actions with respect to them.

           8.      The Liquidating Trustee seeks to reject:

                   (a)    The joint venture agreements that the Debtor Smart Money Secured

          Income Fund LLC entered into with certain investors with respect to websites. These

          agreements and the investors are listed on Exhibit A. The agreements provide for fixed



8
  Pursuant to paragraph 6 of the Settlement Agreement between Liquidating Trustee and Energy Capital
Wilcox, J.V., approved by Court Order (ECF No. 773) entered on April 13, 2018, the deadline to assume or
reject the Joint Venture Agreement dated May 1, 2014, with Energy Capital Wilcox, J.V. has been extended
through the earlier of Friday, August 17, 2018 (120 days from the entry of ECF No. 782 on April 29, 2018)
or the date upon which an Order approving the sale of the Debtor’s interests in the Energy Capital Wilcox,
J.V. becomes final and non-appealable. Additionally, Today’s Growth Consultant, Inc. has agreed to
extend the deadline for the Liquidating Trustee to assume or reject any executory contract with it through
the date that orders of the Court approving the settlement and sale with Today’s Growth Consultant, Inc.
become final and non-appealable, pursuant to paragraph 11 of the Settlement Agreement Between
Liquidating Trustee and Today’s Growth Consultant, Inc. (ECF No. 765, Exh. A).
9
    The Liquidating Trust Assets are described in the Examiner’s Report (ECF No. 262).

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       returns on the initial investments, for a right of first refusal, and for a share of proceeds

       upon sale of the websites. They also provided that the domain and all rights to content,

       intellectual property, and proprietary rights appearing on the sites are the sole property of

       the Debtor Smart Money Secured Income Fund.

                (b)    The joint venture agreement that the Debtor Turnkey Investment Fund,

       LLC entered into with respect to the Turnkey WBCT #3 JV oil and gas venture. The joint

       venturers/subscribers to these agreements are listed on Exhibit B. The Debtor Turnkey

       Investment Fund, LLC is the Managing Venturer of the Turnkey WBCT #3 JV.

        9.      The Liquidating Trustee seeks to assume the following contracts (none of which

are in default caused by the Debtors or the Liquidating Trustee):

                (a)    Agreements with CFS II, Inc. regarding the servicing of distressed

       consumer debts.

                (b)    Agreements with Evergreen Note Servicing, LLC regarding the servicing

       of accounts.

                (c)    Agreements with Automatic Funds Transfer Services, Inc. (AFTS)

       regarding collection services and escrow.

                (d)    Contract/Note for Mobile Home #141 13320 Hwy 99 S Everett WA,

       98204, executed by Duane K. Myers on May 5, 2014.

                (e)    Contract for Deed Agreement Residential Real Estate dated May 1, 2014,

       for sale of property located at 3424 Sharpe Ave., Memphis, TN 38111, executed by Bertha

       Hines.

                (f)    Land Installment Contract for property located 4878 North Overlook

       Avenue, Cincinnati, Ohio 45238, executed by Chris Hollie on April 29, 2014.



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               (g)    Contract for Deed with BWG Investments, LLC for properties located at

       1339 E. 79th Street, Kansas City, Missouri 64131, and 6905 E. 113th Terrace, Kansas City,

       Missouri 64134, executed by Beatrice Gicharu, Managing Member of BWG Investments,

       LLC on April 11, 2012.

                                         Legal Analysis

        10.    Section 365(a) of the Bankruptcy Code allows a debtor, subject to approval of the

Bankruptcy Court, to assume or reject any unexpired lease or executory contract. See Stewart

Title Guar. Co. v. Old Republic Nat'l Title Ins. Co., 83 F.3d 735,741 (5th Cir. 1996). The decision

is subject to the "business judgment" test. Byrd v. Gardiner, Inc. (In re Gardinier, Inc.), 831

F.2d 974, 976 n.2 (11th Cir. 1987); In re Surfside Resort and Suites, Inc., 325 B.R. 465, 469

(Bankr. M.D. Fla.2005); In re Weaver Oil Co., Inc., 2008 WL 8202063 (Bankr. N.D. Fla. 2008);

In re Colony Beach & Tennis Club Ass'n, Inc., 2010 WL 746708, at *3 (M.D. Fla. Mar. 2, 2010).

The sole inquiry is whether assumption will benefit the estate. See Id.

        11.    In applying the “business judgment” test, courts show great deference to a

debtor’s decision to assume or reject an unexpired lease. See Summit Land Co. v. Allen (In re

Summit Land Co.), 13 B.R. 310, 315 (Bankr. D. Utah 1981) (absent extraordinary circumstances,

court approval of debtor’s decision to assume or reject an unexpired lease “should be granted as

a matter of course”). As long as the decision to assume or reject is a reasonable exercise of

business judgment, courts should approve the assumption or rejection of an unexpired lease. See,

e.g., NLRB v. Bildisco and Bildisco, 465 U.S. 513, 523 (1984); Group of Institutional Investors

v. Chicago M. St. P. & P. R. R. Co., 318 U.S. 523(1943).




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       12.      As set forth in the Liquidating Trust Agreement, the Liquidating Trustee has the

powers of the Debtors under the Bankruptcy Code to exercise the Debtors' rights to, among other

things, assume and reject executory contracts and leases.

       13.      The Liquidating Trustee, in exercising her business judgment, believes that the

rejection and assumption of the contracts set forth in this motion are in the best interest of the

Liquidating Trust estate.

       14.      With respect to the rejection of the joint venture agreements with investors set

forth in paragraph 8 above, any and all obligations under those agreements are burdensome to the

estate. The Liquidating Trustee is seeking to liquidate the websites (ECF Nos. 766 and 781) and

oil and gas interests (ECF Nos. 764, 782, and 785) that may be subject to the joint venture

agreements with investors to benefit all creditors of the substantively-consolidated Liquidating

Trust estate.

       15.      With respect to assumption of the executory contracts with third parties set forth

in paragraph 9 above, the Liquidating Trustee believes that the assumption of these contracts will

provide value to the Liquidating Trust estate.

       16.      The Liquidating Trustee requests that the Court extend the deadline to assume or

reject (a) the agreements with Today’s Growth Consultant, Inc. and the Joint Venture Agreement

dated May 1, 2014, with Energy Capital Wilcox, J.V., in accordance with the agreements with

those third parties (See Footnote 8), and (b) all other executory contracts or leases that have not

yet been assumed or rejected.

       WHEREFORE, the Liquidating Trustee respectfully requests the entry of an Order (a)

approving the manner of service of this omnibus motion and authorizing her to reject or assume

more than 100 executory contracts through this motion, (b) approving the rejection and



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assumption of the contracts as set forth in this motion, (c) extending the deadlines to assume or

reject the agreements with Today’s Growth Consultant, Inc. and the Joint Venture Agreement

dated May 1, 2014, with Energy Capital Wilcox, J.V. in accordance with the agreements with

these third parties, (d) extending the deadline to assume or reject any and all other executory

contracts or leases for at least an additional 90 days, (e) eliminating the 14-day stay of the

effectiveness of the Order pursuant to Bankruptcy Rule 6006(d), and (f) granting such other and

further relief as the Court deems appropriate.

       Dated: April 30, 2018                  BROAD AND CASSEL, LLP
                                              Counsel for Liquidating Trustee
                                              100 S.E. 3rd Avenue, Suite 2700
                                              Fort Lauderdale, FL 33394
                                              Ph: (954) 764-7060/Fax (954) 761-8135

                                              By: /s/ Michael D. Lessne
                                                Michael D. Lessne
                                                Fl. Bar No. 73881
                                                mlessne@broadandcassel.com


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing motion has been filed
with the Court and furnished via transmission of Notices of Electronic Filing on all counsel of
record or pro se parties identified on the CM/ECF service list maintained by the Court in this case,
and emailed to Bill Maloney at bill.maloney@bmaloney.com, Brian Fouts at
bmfouts65@hotmail.com, Russell Chalk, Esq. at russchalk@earthlink.net, Daniel Dean at
drdanieldean@hotmail.com, on this 30th day of April, 2018.

                                                     /s/ Michael D. Lessne
                                                     Michael D. Lessne

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                  EXHIBIT A
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                                (Sorted by Alphabetically by Joint Venturer)


Ref #          Party to Joint Venture Agreement                                Website            Date

  1     Acts Innovations LLC                                     Sniper Forex                    06/26/14




  2     Acts Innovations LLC                                     Job Center                      01/22/14




  3     Acts Innovations LLC                                     Workout                         01/22/14




  4     Acts Innovations LLC                                     Travel Tips                     01/22/14




  5     Acts Innovations LLC                                     Expat Jobs                      01/22/14




  6     Acts Innovations LLC                                     Contest                         01/24/14




  7     Alan and Laura Orcutt                                    Supporting Providers            03/09/16




  8     An Jung Hu                                               DVD Reload/Crimcheck.com        09/22/14




  9     Andrew Wong                                              Sniper Forex                    08/26/14


 10     Ben David Carney and Jessica Lee Carney                  Job Center                      05/27/14


 11     Brian Fouts                                              Three Review                    11/11/13




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                           (Sorted by Alphabetically by Joint Venturer)


Ref #           Party to Joint Venture Agreement                          Website            Date

 12     Chang Yu Wu                                         Crimcheck.com                   11/17/14




 13     Chang Yu Wu                                         Withmydegree.com                11/18/15




 14     Chen Chao Jung                                      Sniper Forex                    07/16/14




 15     Chris Duskin                                        Three Review                    11/11/13


 16     Daryl Wood                                          Contest                         12/09/13


 17     Del Paso Management, LLC                            Crimcheck.com                   09/22/14




 18     Dennis Teng                                         Top Ten                         11/05/13


 19     Ed Stimmel                                          Travel Tips                     05/01/13


 20     Ed Stimmel                                          Top Ten                         05/01/13


 21     Evan Pratt                                          Top Ten                         02/20/14


 22     Giancarlo Lujan & DULCINEA LUJAN                    Three Review                    11/05/13


 23     Giancarlo Lujan & DULCINEA LUJAN                    Job Center                      04/10/14




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                             (Sorted by Alphabetically by Joint Venturer)


Ref #           Party to Joint Venture Agreement                            Website            Date

 24     Hafsteinn and Carmon Stefanson                        Top Ten                         02/17/16


 25     Hafsteinn and Carmon Stefanson                        Travel Tips                     02/17/16


 26     Hafsteinn and Carmon Stefanson                        Contest                         12/11/13


 27     Hafsteinn and Carmon Stefanson                        Mac Review                      12/11/13


 28     IRA Services Trust Company / Ayim Darkeh              Crimcheck.com                   12/18/14
        #IRA472414

 29     Jacob Fouts                                           Contest                         11/12/13


 30     Jacob Fouts                                           Mac Review                      11/12/13


 31     Jacob Fouts                                           Gaming Site                     05/07/14


 32     James A. Hayes                                        Mac Review                      12/17/14


 33     James A. Hayes                                        Theydeserveit.com               08/03/15


 34     Jason Unger & Jeanne Unger                            Job Center                      09/24/14


 35     Jeffrey Clark and Stasha Howarth Clark                                                09/09/15


 36     Jeremy and Jenny Jensen                               Contest                         11/19/13


 37     Jeremy and Jenny Jensen                               Mac Review                      11/19/13




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                            (Sorted by Alphabetically by Joint Venturer)


Ref #           Party to Joint Venture Agreement                           Website            Date

 38     Jessica Allgier                                      Job Center                      03/12/14


 39     Jih Lu (Tom) Tsai                                    Best-In-Bedding                 01/05/15


 40     Jih Lu (Tom) Tsai                                    Crimcheck.com                   01/05/15


 41     Jih Lu (Tom) Tsai                                    Job Center                      04/30/14


 42     Jim Robinson                                         Contest                         12/09/13


 43     John Han Chen                                        Three Review                    12/02/13


 44     John Roman                                           Three Review                    11/11/13


 45     Justin Hanson                                        Contest                         09/05/13


 46     Justin Hanson                                        Three Review                    09/05/13


 47     Justin Hanson                                        Travel Tips                     10/02/13


 48     Justin Hanson                                        Consortium                      11/19/13


 49     Justin Hanson                                        Job Center                      03/31/14


 50     Justin Hanson                                        Easysitebuild.com               10/08/15


 51     Justin Rebman                                        Top Ten                         05/01/13
 52     Kathleen Crapson                                     Contest                         11/13/13




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                             (Sorted by Alphabetically by Joint Venturer)


Ref #           Party to Joint Venture Agreement                            Website            Date

 53     Kathleen Crapson                                      Mac Review                      11/13/13


 54     Kathleen Crapson                                      Consortium                      05/28/13


 55     Kathleen Forrester                                    Travel Tips                     05/28/13


 56     Kathleen Forrester                                    Workout                         05/12/14


 57     Kenneth O Mitchell and or Deborah A Mitchell          Start Cleaning Service          05/11/15


 58     Laura Anderson                                        Crimcheck.com                   10/27/14


 59     Laura Anderson                                        Crimcheck.com                   04/08/15


 60     Lin Min Tsai                                          Sniper Forex                    07/16/14




 61     Loren Yadeski                                         Job Center                      02/05/14


 62     Marni Ritchie                                         Top Ten                         10/25/13


 63     Michael Horm                                          Three Review                    09/25/13


 64     Michael Horm                                          Travel Tips                     09/25/13


 65     Mike Horm                                             Top 10                          06/11/15


 66     Miryex Innovations, LLC                               Workout                         01/22/14




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                             (Sorted by Alphabetically by Joint Venturer)


Ref #            Party to Joint Venture Agreement                           Website            Date

 67     NATHAN ROBERT DOTY &                                  Job Center                      03/13/14
        MARIA LAARNI LAGUERTA SUBANG-DOTY

 68     On Your Mark Investments, LLC                         Consortium                      01/16/14


 69     Performance Assets Fund                               Job Center                      04/15/14




 70     Performance Assets Fund                               Gaming                          10/23/14




 71     Performance Assets Fund                               Mac Review                      10/23/14




 72     Performance Assets Fund                               Travel Tips                     12/03/14




 73     PJ Lin                                                Contest                         11/20/13


 74     PJ Lin                                                Mac Review                      11/20/13


 75     PJ Lin                                                Mac Review                      01/08/14


 76     PJ Lin                                                Job Center                      04/28/14


 77     REAL ALTERNATIVES LLC FBO NATHAN DOTY Crimcheck.com                                   01/28/15
        IRA 022046-TR12

 78     REAL ALTERNATIVES, LLC FBO NATHAN DOTY Crimcheck.com                                  01/28/15
        IRA 022044-RAI2

 79     Real Trust IRA Alternatives, LLC Fbo Anna Maria       Crimcheck.com                   11/12/14
        DelHierro IRA #22007-TR09



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                              (Sorted by Alphabetically by Joint Venturer)


Ref #          Party to Joint Venture Agreement                              Website            Date

 80     REAL TRUST IRA ALTERNATIVES, LLC FBO                   Sniper Forex 1                  06/23/14
        LAURA ANN RUTH HORAN IRA# 21972-RA06

 81     REAL TRUST IRA ALTERNATIVES, LLC FBO                   Sniper Forex 3                  06/23/14
        SEAN G. HORAN IRA# 21968-TR06

 82     REAL TRUST IRA ALTERNATIVES, LLC FBO                   Sniper Forex 2                  06/23/14
        SEAN G. HORAN IRA# 21970-RA06

 83     Real Trust IRA Alternatives, LLC fbo Stasha Howarth- Three Review                      02/22/16
        Clark IRA # 22093-TR03

 84     Real Trust IRA FBO Jeff Smith                          Job Center                      02/04/14


 85     Real Trust IRA FBO Ron Walgamotte                      Crimcheck.com                   12/29/14


 86     Real Trust IRA FBO Vu Truong                           Sniper Forex                    07/31/14


 87     Real Trust IRA FBO Vu Truong                           ODC PayPal                      07/31/14


 88     RJ Innovations, LLC                                    Workout                         01/22/14


 89     Ron A. Fossum Sr.                                      Contest                         05/28/14


 90     Ron A. Fossum Sr.                                      Top 10                          05/28/14


 91     Ronald Fossum Sr.                                      Consortium                      05/28/13


 92     Ronald Fossum Sr.                                      Top 10                          01/28/14


 93     Ronald Fossum Sr.                                      Workout                         04/23/15




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                               (Sorted by Alphabetically by Joint Venturer)


Ref #          Party to Joint Venture Agreement                               Website            Date

 94     Royal Smalley                                           Three Review                    10/23/13


 95     Royal Smalley                                           Mac Review                      10/23/13


 96     Royal Smalley                                           Contest                         10/23/13


 97     Sean and Laura Horan                                    Job Center                      05/06/14


 98     Sean and Laura Horan                                    Job Center                      05/06/14


 99     Shuh King Shieh & Victoria Chen                         Expat Jobs                      01/21/14


 100    Shuh King Shieh & Victoria Chen                         Contest                         01/21/14


 101    Stephen Alison                                          Contest                         08/27/13


 102    Stephen Alison                                          Mac Review                      08/27/13


 103    Stephen Alison                                          Three Review                    08/27/13


 104    Stephen Alison                                          Crimcheck.com                   02/19/15


 105    Storehouse Investments, LP                              DVD Overload /                  09/22/14
                                                                Crimcheck.com

 106    Susan Hemme                                             Job Center                      04/15/14


 107    The Lipper Family Trust Dated February 7,2013           Contest                         02/07/13




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                              (Sorted by Alphabetically by Joint Venturer)


Ref #           Party to Joint Venture Agreement                             Website            Date

 108    Thomas J. Duncan                                       Job Center                      03/26/14


 109    Tung Jung Tsai                                         Sniper Forex                    07/25/14




 110    Ultimate Vitality Partners, LLC                        TBD                             04/10/15




 111    Weeze LLC                                              Crimcheck.com                   12/04/14


 112    Wellness Consultants of Naples, LLC                    Job Center                      01/28/14


 113    Will Fox and Pauline Fox                               Job Center                      08/27/14


 114    Will Fox and Pauline Fox                               DVD Reload/Crimcheck.com        09/22/14


 115    William Lee                                            Job Center                      02/05/14


 116    Yeh-Hung-Lin                                           Contest                         09/02/14




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                   EXHIBIT B
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                                   (Sorted by Alphabetically by Joint Venturer)


Ref #                     Joint Venturer                   Investment             JV Agreement       Date

  1     Andrew Wong                                     Joint Venture       Turnkey WBCT #3 JV      10/03/14
                                                        Participation Units

  2     Brian Fouts                                     Joint Venture       Turnkey WBCT #3 JV      11/24/14
                                                        Participation Units

  3     Dennis Teng                                     Joint Venture       Turnkey WBCT #3 JV      09/24/14
                                                        Participation Units

  4     Dinesh Gauba                                    Joint Venture       Turnkey WBCT #3 JV      09/13/14
                                                        Participation Units

  5     Dreamlife Investments, Inc.                     Joint Venture       Turnkey WBCT #3 JV      10/23/14
                                                        Participation Units

  6     Eugene and Jennifer Tyler                       Joint Venture       Turnkey WBCT #3 JV      12/03/14
                                                        Participation Units

  7     Giancarlo Lujan                                 Joint Venture       Turnkey WBCT #3 JV      04/15/14
                                                        Participation Units

  8     Howie Sun                                       Joint Venture       Turnkey WBCT #3 JV      09/29/14
                                                        Participation Units

  9     Jacob Fouts                                     Joint Venture       Turnkey WBCT #3 JV      11/24/14
                                                        Participation Units

 10     Jason Unger & Jeanne Unger                      Joint Venture       Turnkey WBCT #3 JV      10/07/14
                                                        Participation Units

 11     Jason Workman                                   Joint Venture       Turnkey WBCT #3 JV      10/14/14
                                                        Participation Units

 12     JDF Investments LLC                             Joint Venture       Turnkey WBCT #3 JV      10/16/14
                                                        Participation Units


 13     Jeremy and Jenny Jensen                         Joint Venture       Turnkey WBCT #3 JV      11/04/14
                                                        Participation Units

 14     Jessica Allgier                                 Joint Venture       Turnkey WBCT #3 JV      09/30/14
                                                        Participation Units

 15     John Schwarzschild                              Joint Venture       Turnkey WBCT #3 JV      08/05/14
                                                        Participation Units




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                                  (Sorted by Alphabetically by Joint Venturer)


Ref #                   Joint Venturer                    Investment             JV Agreement       Date

 16     John Schwarzschild                             Joint Venture       Turnkey WBCT #3 JV      12/20/13
                                                       Participation Units


 17     Justin Hanson                                  Joint Venture       Turnkey WBCT #3 JV      09/25/14
                                                       Participation Units

 18     Kathleen Forrester                             Joint Venture       Turnkey WBCT #3 JV      12/03/14
                                                       Participation Units

 19     Louise Vlasic                                  Joint Venture       Turnkey WBCT #3 JV      12/04/14
                                                       Participation Units

 20     Michael C. Horm                                Joint Venture       Turnkey WBCT #3 JV      09/27/14
                                                       Participation Units

 21     Performance Assets Fund                        Joint Venture       Turnkey WBCT #3 JV      08/20/14
                                                       Participation Units


 22     Performance Assets Fund                        Joint Venture       Turnkey WBCT #3 JV      11/18/14
                                                       Participation Units


 23     Performance Assets Fund                        Joint Venture       Turnkey WBCT #3 JV      11/25/14
                                                       Participation Units


 24     PJ Lin                                         Joint Venture       Turnkey WBCT #3 JV      03/14/14
                                                       Participation Units

 25     PJ Lin                                         Joint Venture       Turnkey WBCT #3 JV      09/12/14
                                                       Participation Units

 26     Real Trust IRA FBO Jeff Smith                  Joint Venture       Turnkey WBCT #3 JV      10/14/14
                                                       Participation Units


 27     Tung Jung Tsai                                 Joint Venture       Turnkey WBCT #3 JV      09/29/14
                                                       Participation Units




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